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                IN THE UNITED STATES DISTRICT COURT FOR
                  THE WESTERN DISTRICT OF OKLAHOMA

CRAIG PC SALES & SERVICE, LLC,
an Oklahoma domestic limited liability
Company; RAY T. CRAIG, SR., and
RAY T. CRAIG, JR.,

              Plaintiffs,
v.                                                  Case No. CIV–17–3–F

CDW GOVERNMENT, LLC, an Illinois
limited liability company; and
MICROSOFT CORPORATION a
Washington corporation,

              Defendants.


     DECLARATION OF AMBIKA K. DORAN IN SUPPORT OF MICROSOFT
               CORPORATION’S MOTION TO COMPEL


       I, Ambika K. Doran, declare:

       1.     I am a partner in the law firm Davis Wright Tremaine LLP, counsel of

record for Plaintiff Microsoft Corporation in this matter. I make this declaration from

personal knowledge and a review of the files and records in this matter.

       2.     Attached as Exhibit A is a true and correct copy of Plaintiff Craig PC’s

Responses and Objections to Microsoft’s First Set of Discovery Requests.

       3.     Attached as Exhibit B is a true and correct copy of Plaintiff Craig Sr.’s

Responses and Objections to Microsoft’s First Set of Discovery Requests.


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       4.     Attached as Exhibit C is a true and correct copy of Plaintiff Craig Jr.’s

Responses and Objections to Microsoft’s First Set of Discovery Requests.

       5.     Attached as Exhibit D is a true and correct copy of the letter Microsoft sent

Plaintiffs on March 1, 2019, detailing the deficiencies of Plaintiffs’ discovery responses.

       6.     Attached as Exhibit E is a true and correct copy of an email exchange

between counsel for Microsoft and counsel for Plaintiffs between March 1, 2019, and

July 12, 2019.

       7.     Attached as Exhibit F is a true and correct copy of an email exchange

between counsel for Microsoft and counsel for Plaintiffs between March 1, 2019, and

July 30, 2019.

       8.     Attached as Exhibit G is a true and correct copy of Plaintiff Craig PC’s

Response to Microsoft's Amended Requests for Production of Documents.

       9.     Attached as Exhibit H is a true and correct copy of an email exchange

between counsel for Microsoft and counsel for Plaintiffs between August 6, 2019, and

August 19, 2019.

       10.    Attached as Exhibit I is a true and correct copy of an email exchange

between counsel for Microsoft and counsel for Plaintiffs between August 23, 2019, and

September 4, 2019.

       11.    Attached as Exhibit J is a true and correct copy of a letter Plaintiffs sent

Microsoft on September 9, 2019, in response to the outstanding discovery issues.
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       12.    Attached as Exhibit K is a true and correct copy of Craig PC’s

Supplemental Response to Defendant Microsoft’s Interrogatory No. 10, served on

September 9, 2019.

       13.    Attached as Exhibit L is a true and correct copy of a letter Microsoft sent

to Plaintiffs September 19, 2019, regarding the outstanding discovery issues.

       14.    Attached as Exhibit M is a true and correct copy of an email exchange

between counsel for Microsoft and counsel for Plaintiffs between September 19, 2016,

and September 26, 2019.

       15.    Attached as Exhibit N is a true and correct copy of an email exchange
between counsel for Microsoft and counsel for Plaintiffs on March 12, 2019.

       16.    Attached as Exhibit O is a true and correct copy of an email exchange
between counsel for Microsoft and counsel for Plaintiffs on March 13, 2019.

       17.    During meet and confer discussions, Plaintiffs identified three categories of
documents in response to Interrogatories 6-11 and RFPs 17 and 20:

                    Craig813-915, which my office has reviewed and which summarizes
                     Craig PC invoices by school district for 2004-2010;

                    Craig16567-16607 and Craig 1708-174, which my office has
                     reviewed and which summarizes annual sales by customer
                     (including school districts) for 2006-2009 and 2010-2018,
                     respectively; and

                    Craig14704-15078, which my office has reviewed and which
                     summarizes Craig PC invoices by customer for 2007-2010.

       18.    In reviewing the documents described in Paragraph 17, Microsoft was

unable to identify a single school district that stopped doing business with Craig PC after
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February 2014. Upon receipt of Plaintiffs’ supplemental response to Interrogatory 10,

identifying 26 school districts, our office again reviewed the documents described in

Paragraph 17, and those documents show that 21 of the 26 school districts had stopped

doing business with Craig PC before 2014: Anadarko (2010), Braman (2012), Byars

(2011), Cement (2010), Copan (2011), Darlington (2011), Erick (2013), Geary (2012),

Hydro-Eakly (2011), Newkirk (2011), Mountain View-Gotebo (2012), Mulhall-Orlando

(2010), Peckham (2011), Purcell (2013), Ringwood (2012), Ripley (2013), Robin Hill

(2011), Sterling (2013), Thackerville (2010), Timberlake (2011), and Washington (2011).

The documents also show that the remaining five continued doing business with Craig

PC in 2014 and after.

      19.    On August 31, 2018, the Court denied Microsoft’s motion to dismiss the

tortious interference claims partly based on affidavits from two schools that mentioned

statements by Microsoft in 2014 and 2015. According to the documents described in

Paragraph 17, those districts, Hydro-Eakly and Minco, either stopped doing business with

Craig PC in 2012 (Hydro-Eakly) or continued to do business with Craig PC in February

2014 and after (Minco).

      20.    Below is a chronology detailing Microsoft’s meet and confer efforts:

       21.   March 1, 2019    Microsoft asks for a meet and confer to address Doran
                              deficiencies in Plaintiffs’ responses.          Decl. Ex.
                                                                              D.
       22.   March 8, 2019    Counsel for Microsoft and Plaintiffs meet and
                              confer by phone. Counsel for Plaintiffs agree
                              to get back to Microsoft on the issues
                              discussed.
       23.   March 12 and     Plaintiffs make their first document            Id. Exs.
             13, 2019         production.                                     N & O.
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24.   April 1, 2019    Microsoft asks when Plaintiffs will remedy the        Id. Ex. E.
                       deficiencies discussed. Microsoft proposes
                       April 4, 2019, for a follow-up call.
25.   April 9, 2019    Microsoft suggests April 10, 2019, for a              Id.
                       follow-up call.
26.   April 10, 2019   Counsel for Microsoft and Plaintiffs meet and
                       confer again by phone. Microsoft agrees to
                       amend some of its RFPs, and Plaintiffs agree to
                       get back to Microsoft on the issues discussed.
27.   April 18, 2019   Microsoft amends its RFPs. Microsoft                  Id.
                       reiterates its requests that Plaintiffs identify by
                       Bates number the documents Plaintiffs
                       produced as responsive to Microsoft’s
                       interrogatories as well as supplement their
                       production to the amended RFPs.
28.   April 23, 2019   Plaintiffs provide a list of Bates numbers            Id.
                       without identifying their responsiveness by
                       interrogatory.
29.   May 21, 2019     Microsoft asks again that Plaintiffs identify the     Id.
                       responsive documents by Bates number by
                       interrogatory and supplement its production to
                       the amended requests.
30.   May 28, 2019     Plaintiffs identify the responsive Bates              Id. Ex. F.
                       numbers by interrogatory.
31.   May 31, 2019     Craig PC serves objections and responses to           Id. Ex. G.
                       the amended RFPs and agrees to produce
                       responsive documents to some of the amended
                       RFPs.
32.   June 28, 2019    Microsoft follows up on the outstanding               Id. Ex. F.
                       discovery issues, and asks Plaintiffs to address
                       the deficiencies in their identification of
                       documents responsive to Interrogatories 6-11.
33.   July 8, 2019     Counsel for Microsoft and Plaintiffs meet and         Id.
                       confer by phone.
34.   July 12, 2019    Microsoft follows up with Plaintiffs on their         Id. Ex. E.
                       position.
35.   July 16, 2019    Plaintiffs confirm they “will identify the            Id. Ex. F.
                       specific school districts that ceased doing
                       business and/or reduced their business after the
                       state charges were filed in 2014.”
36.   July 22, 2019    Microsoft asks again when Plaintiffs will             Id.
                       supplement their responses and production.
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       37.   July 23, 2019  Plaintiffs promise to “have a response by            Id.
                            Monday, August 5.”
       38.   July 29, 2019  Microsoft asks for an update.                        Id.
       39.   July 30, 2019  Plaintiffs promise to supplement by August 6.        Id.
       40.   August 6, 2019 Plaintiffs indicate they will not be able to         Id. Ex. H.
                            supplement because of “unexpected scheduling
                            issues.”
       41.   August 13,     Microsoft follows up.                                Id.
             2019
       42.   August 15,     Plaintiffs indicate that they are meeting with       Id.
             2019           counsel the next day to finalize responses and
                            production.
       43.   August 19,     Microsoft again follows up.                          Id.
             2019
       44.   August 23,     Plaintiffs indicate they have been delayed from      Id. Ex. I.
             2019           further scheduling difficulties. Plaintiffs
                            promise to have “supplemental responses and
                            document production by next Friday.”
       45.   September 4,   Microsoft again follows up.                          Id.
             2019
       46.   September 9,   Plaintiffs provide supplemental responses and        Id. Exs. J
             2019           production.                                          & K.
       47.   September 19, Microsoft explains why the supplemental               Id. Ex. L.
             2019           information remains deficient.
       48.   September 26, Plaintiffs indicate that they “do not believe that    Id. Ex.
             2019           any further supplementation is required or           M.
                            necessary.”


       I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

       Executed this 4th day of October, 2019, at Mercer Island, Washington.




                                               /s Ambika K. Doran
                                                 Ambika K. Doran
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                              CERTIFICATE OF SERVICE

        I hereby certify that on October 4, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records currently
on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
registrants:

Bret Burns                                    Ronald T. Shinn, Jr.
Burns Law Office                              McAfee & Taft
519 W. Chickasha Avenue                       10th Floor, Two Leadership Square
Chickasha, OK 73018                           211 N. Robinson
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                                           s/ Ambika K. Doran
                                           Ambika K. Doran
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                                                                         Zana Bugaighis
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March 1, 2019

Via Electronic Mail

Stanley M. Ward, OBA #9351
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Re:    Craig PC Sales & Service LLC et al. v. CDW Government LLC et al., No. 5:17-cv-
       00003-F

Dear Barrett:

        I write on behalf of Microsoft Corporation regarding deficiencies in the Craig PC, Ray
Craig Sr., and Ray Craig, II (“Plaintiffs”) Responses and Objections to Microsoft’s First Set of
Interrogatories and Requests for Production (collectively the “Responses”). Microsoft has
summarized its concerns with respect to Plaintiffs’ discovery responses by citing Craig PC’s
objections and responses, to which Craig Sr. and Craig II’s responses refer. However,
Microsoft’s concerns apply to all of Plaintiffs’ discovery obligations. Please let me know your
availability for a telephonic meet-and-confer on or before March 6, 2019.

General Issues with Plaintiffs’ Discovery Responses

        Plaintiffs have yet to produce any responsive documents. Although Plaintiffs generally
agree to produce specific documents, business records, and other information, their Responses do
not indicate when those documents and communications will be produced. For example, Craig
PC’s Response to RFP 1 states simply: “Responsive documents will be produced.” Plaintiffs
cannot provide an indefinite date for responding to an RFP. On or before March 6, 2019 please
provide a date certain by when Plaintiffs intend to begin their production of documents.
Microsoft reserves its right to object to the sufficiency of Plaintiff’s production when made,
including those documents Plaintiffs have agreed to produce subject to a protective order.
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        Additionally, Plaintiffs’ Interrogatory Responses repeatedly direct Microsoft to
unproduced “business records.” For example, Craig PC ROGs 6-11 requests Craig PC identify
certain business relationships with private clients and school districts. In response, Craig PC
“directs Microsoft to its business records” pursuant to Federal Rule Civil Procedure 33(d) that
“will be identified upon production . . . following the entry of an appropriate protective order.”
However, Federal Rule Civil Procedure 33(d) may only be used in lieu of a written response
where “if the burden of deriving or ascertaining the answer will be substantially the same for
either party.” Plaintiff Craig PC has superior knowledge of its business relationships with
private clients and school districts and with the business relationships that form the basis of its
alleged damages. Directing Microsoft to “business records” does not meet Plaintiffs’ discovery
obligations.

        As to multiple responses, it is unclear based on Plaintiffs’ objections if responsive
information is being withheld. Please clarify if Plaintiffs are withholding responsive information
as to Craig PC ROG 5 and RFPs 18, 19, 21, 23, 30, 31, 33, and 39 and Craig Sr. and Craig II’s
corresponding discovery requests.

Plaintiffs’ Non-Responsive and Partial Responses

        As to multiple Requests, including Craig PC ROGs 12, 16, 17, and RFPs 15, 24, Plaintiff
responds by offering to produce documents that are either not responsive or only partially
responsive to the RFP or by providing non-responsive answers to each interrogatory. Plaintiffs
repeatedly object that Microsoft’s requests are overly broad because they use “an omnibus term
with respect to the entire lawsuit.” Plaintiffs’ objection has no merit. Microsoft is entitled to
take discovery regarding the scope of the “entire lawsuit.”

        As to ROG 12, Microsoft requested Craig PC “[i]dentify each and every false statement
you claim was made by Microsoft, or any representative thereof, including the speaker, each
person who was present for the statement, the date, the time, and the place, as alleged in
Paragraph 153 of the FAC.” Paragraph 153 of the FAC states that “Defendant Microsoft
intentionally interfered with Plaintiffs’ valid business relationship and expectancy by making the
false statements[.]” Plaintiff’s Response to ROG 12 (and to ROGs 16 and 17), however,
identifies only categories of statements and examples of these statements made to Special Agent
Decker. Plaintiffs object it is “unduly burdensome” to request the identity of every alleged false
statement on which Plaintiffs intend to rely. To the extent Plaintiffs intend to rely on any alleged
statements in addition to those identified in response to ROG 12, 16, and 17, Plaintiffs must
immediately supplement their response.
         As to Craig PC RFP 17, Microsoft requested Plaintiff Craig PC produce “all documents
and communications relating to your allegations that you had a ‘valid business relationship and
expectancy with ‘private clients’ as alleged in Paragraph 151 of the FAC.” Plaintiff Craig PC
objects that it “cannot meaningfully respond to this Request based on its current breadth” and
states it will produce sales detail sheets that demonstrate how much revenue was earned from
each customer from 2004-2017. Craig PC answers RFPs 18, 20, and 24 similarly. Craig PC’s
objections are unfounded. To the extent any other documents exist regarding Craig PC’s
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business relationships and/or Microsoft’s alleged interference with those relationships, Plaintiffs
must immediately supplement their responses and production to RFPs 17, 18, 20, and 24.

        As to RFP 24, Microsoft requested Craig PC “[p]roduce all documents and
communications relating to the termination of any business relationship, expectancy, or
prospective economic advantage with the thirty-seven school districts or ‘private clients[.]’” In
Plaintiff’s Response to RFP 24, it objects to the breadth alleging that RFP 24 “could potentially
encompass any number of documents or communications, including every invoice ever received
from Craig PC” but agrees to produce “sales detail sheets that demonstrate how much revenue
was earned.” In Plaintiffs’ Sixth Cause of Action, they allege that Microsoft interfered with
business relationships and caused them “economic and non-economic damages” from the
implied termination of those relationships. See FAC ¶ 155. Microsoft requests documents and
communications relating to the termination of the relationship, not every possible email or
invoice. Furthermore, sales records will not show the reason for termination, which is relevant
and at issue in Plaintiffs’ claim of tortious interference.

        As to Craig PC RFPs 26 and 28, Microsoft requested Plaintiff Craig PC produce “all of
your [and Craig PC Sales & Service, Inc.’s] income statements, statement of financial position,
balance sheets, profit-loss statements, cash flow statements, financial reports, financial audits, or
investor reports from January 1, 2006 to the present.” Plaintiff Craig PC does not provide any
objection but agrees to produce only Craig P.C.’s Profit and Loss statements for an undefined
time period. Documentation regarding Craig PC’s financial situation is necessary to Microsoft’s
defense.

Plaintiffs’ Refusal to Produce Responsive Documents or Respond to Interrogatories

        As to multiple Requests, including Craig PC ROG 15, Craig Sr. and Craig II ROG 8, and
Craig PC RFPs 14, 15, 36 and 37, Plaintiffs respond by simply ignoring the request or
alternatively objecting and refusing to provide the requested information on the grounds that the
request is overbroad and privileged.

         As to Craig PC ROG 15, Microsoft requested Plaintiffs describe with specificity “any
information provided or representations made by you, or anyone on your behalf, that led to the
civil settlement in the Federal Case.” Craig PC does not provide a response and instead objects
that the request implicates privileged information and is “vague and confusing in that Plaintiff
does not understand what specific information Defendant Microsoft Corporation is requesting.”
Any and all statements made by Craig PC or its counsel to the Federal Bureau of Investigation
(“FBI”), federal prosecutors, and/or any other individual (outside of Plaintiffs’ counsel) that led
to settlement in the Federal Case are responsive and must be produced.

        As to Craig PC RFPs 14 and 15, Microsoft requested Craig PC produce “all documents
and communications relating to any investigation” by the federal and state authorities into the
Federal and State Cases including all statements Craig PC provided to the Federal Government,
federal employees, State of Oklahoma, or state employees. Plaintiff Craig PC objected that it
“cannot respond in a meaningful fashion” because the Request is “overly broad on its face
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because it uses an omnibus term with respect to a general category or group of documents.”
Plaintiff states it will produce “all of the FBI 302 reports.” Plaintiff can (and must) additionally
produce all communications with the Federal Government, federal employees, State of
Oklahoma, or state employees relating to the Federal and State Case investigations and any
documents related thereto.

        As to Craig Sr. and Craig II ROG 8, Microsoft requested Plaintiffs “[i]dentify ‘all
economic and non-economic damages’ the individual, non-corporate plaintiffs suffered, “as
alleged in Paragraph 155 of the FAC.” In their Responses, Plaintiffs state that they “will allow
the jury to determine the amount of [their] damages at the time of trial.” Because the types, form,
and grounds for Plaintiffs’ damages are highly relevant as an element of their claim, Plaintiffs
cannot decline to provide that information in favor of surprising Microsoft at trial. While
Microsoft agrees that a fact-finder should determine the amount of damages, if any, the source
or type of those alleged damages is discoverable and highly pertinent to Plaintiffs’ and
Defendants’ claims and defenses. As such, Plaintiffs’ Responses are improper.

        As to Craig PC RFP 25, Microsoft requested “documents showing any log, recording, or
other record of calls you had with customers relating to your advertising, marketing, selling,
administering, conducting, or provision of Microsoft software from January 1, 2006 to the
present.” Craig PC objected that it does not have capacity to search for every single “log,
recording, or other record of calls” for a period of 13 years. But Plaintiffs’ records regarding the
“advertising, marketing, selling, administering, conducting, or provision of Microsoft software”
from January 1, 2006 are directly relevant to Plaintiffs’ claims that Microsoft made false
allegations regarding Craig PC and must be produced.

        As to Craig PC RFP 35, Microsoft requested “all communications after January 1, 2006,
you have had with any person identified in Section A of your Initial Disclosures dated November
29, 2018, that relate to this Litigation, the Federal Case, the State Case, or any of your claims or
allegations in the FAC.” Plaintiffs object that this request as overly broad. The communications
Microsoft requests are with individuals identified by Plaintiffs as having relevant knowledge of
this Litigation and the request is limited to communications that go directly to Plaintiffs’ claims
and/or Microsoft’s defenses.

        As to Craig PC RFP 36, Microsoft requested “all documents [and] communications with
Kevin Sims that relate to this Litigation, the Federal Case, the State Case, or any of your claims
or allegations in the FAC, including without limitation communications relating to the Sims
Declaration (including any drafts of that declaration).” Objecting on the grounds that “drafts of
the Sims Declaration” are privileged work-product and the Request is overbroad, Plaintiff’s
refuse to produce any documents in response to RFP 36. However, any communications with
Mr. Sims and/or declaration drafts shared with Mr. Sims are not privileged, even if Plaintiffs’
counsel was involved in the drafting. Moreover, this request is not overbroad because the class
of documents and communications requested is limited to communications with Mr. Sims that
would relate this this action. As to Craig PC RFP 37, Microsoft requested the same form and
types of communications and documents, except as they relate to Todd Bunch. For the same
reasons provided above, Plaintiff’s Response is insufficient.
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Plaintiffs’ Claim That No Responsive Documents or Information Exist

        As to Craig PC RFP 38, Microsoft requested “all communications with anyone (besides
those communications protected by the attorney-client privilege) relating to any plea by anyone
in the State Case.” In response, Plaintiff Craig PC objected that Microsoft seeks privileged
documents but stated that it “has not located any such documents at this time.” Microsoft’s
request specifically excluded privileged communications, making Plaintiff’s privilege objection
is improper. Regardless, please confirm whether Craig PC conducted a comprehensive review of
its emails (including a keyword search) in attempting to locate responsive documents.

Plaintiffs’ Privilege Objections

         As to Craig PC RFP 13, Microsoft requests Craig PC produce “any written or recorded
statements by witnesses or other persons relating to any allegation or claim in the FAC, including
any drafts of such statements.” Plaintiff Craig PC objects that “documents protected by the
work-product privilege to the extent it seeks drafts of any written or recorded statements by
witnesses or other persons relating to any allegation or claim in the First Amended Complaint.
Federal Rule Civil Procedure 26(b)(3) protects these materials prepared in anticipation of
litigation unless “the party shows that it has substantial need for the materials to prepare its case
and cannot, without undue hardship, obtain their substantial equivalent by other means.” To the
extent Craig PC prepared written or recorded statements of witnesses relating to any allegation or
claim in the First Amended Complaint in preparation for litigation, Craig PC must identify these
statements so that Microsoft can move for their production if necessary to Microsoft’s defense.

       We look forward to discussing these issues on a meet-and-confer call and sincerely hope
we can resolve these disputes without resorting to motion practice.

Sincerely,

Davis Wright Tremaine LLP




Zana Bugaighis
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Mitterndorfer, Ericka




From:                                              Doran, Ambika
Sent:                                              Friday, July 12, 2019 2:31 PM
To:                                                Barrett Bowers; Bugaighis, Zana; Thomas C. Koessl; MacNaughton, Bonnie; Evelyn
                                                   Williams; Stephanie Hemesley; 'bret.burns@ymail.com'; Jonathan Irwin; Rhonda Stermer;
                                                   Woody Glass
Cc:                                                Kalinowski, Caesar; Silva, Aimee; Miller, Anita; 'bnelon@hallestill.com'
Subject:                                           RE: Microsoft/Craig PC - meet and confer issues


Hi Barrett: I wanted to follow up on the below. I had expected a substantive answer on Tuesday, and it’s now
Friday. Could you please try to respond on Monday? Especially with the schedule in flux, we want to get moving on a
motion to compel if need be.

Have a good weekend.

Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Doran, Ambika
Sent: Monday, July 08, 2019 7:42 PM
To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>; 'Thomas C. Koessl'
<tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacnaughton@dwt.com>; 'Evelyn Williams'
<Ewilliams@wardglasslaw.com>; 'Stephanie Hemesley' <stephanie@wardglasslaw.com>; 'bret.burns@ymail.com'
<bret.burns@ymail.com>; 'Jonathan Irwin' <Jonathan@wardglasslaw.com>; 'Rhonda Stermer'
<rhonda@wardglasslaw.com>; 'Woody Glass' <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller, Anita
<AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft/Craig PC - meet and confer issues

Barrett,
Thanks for talking with me today. I wanted to summarize our understandings, as well as provide clarity on the RFP we
discussed. If anything below looks inconsistent with what we discussed, please let me know.

Ambika

***

Documents and Information Concerning Termination of School Contracts. You indicated you would let me know, likely
tomorrow (Tuesday), whether you will supplement your responses to the interrogatories concerning schools that
stopped or substantially reduced business with the Craigs after February 24, 2014. In particular, please note that the
documents you referred to in your interrogatory responses provide information about calendar years, not months, and
so we are unable to discern anything about what happened in 2014 itself.

Identification of Allegedly Materially False Statement. You stated your belief that it was not Plaintiffs’ job to sort
through the record to identify all instances of allegedly materially false statements made by Microsoft. You also
confirmed that all such statements were made to Deb Decker. You nonetheless agreed to get back to me whether you
would supplement these responses.
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Documents Created/Transmitted/Received Related to the Prosecutions (RFPs 14 or 15). You indicated that you have
produced (or will soon produce) documents created or transmitted by the Craigs that relate to the state and/or federal
cases. You indicated that documents “received” in connection with those cases would include all documents returned
to the Craigs by the FBI after the civil forfeiture action. Again, to be clear, we do not want such documents. We do want
documents received in connection with those cases that were not part of the return of documents by the FBI (unless
there are documents that were both received by the Craigs and then later received by the FBI—the former would fall
within our request). If this still does not provide sufficient clarity, please let me know and we can discuss again.

Documents Concerning Plea. You indicated you have two bankers’ boxes of documents that concern (at least in part)
this request. Please let us know when you intend to produce them. You also indicated that you would consider our
request for a privilege log. I will consult with our client regarding your proposal that the log be narrowed to documents
concerning the plea and get back to you.

Communications with Bunch/Sims. You indicated there are no such documents.

Revised RFPs. You indicated other than the ambiguity above (“received by”), none of the requests were ambiguous.

Ambika Kumar Doran | Davis Wright Tremaine LLP
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Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.


From: Doran, Ambika
Sent: Friday, June 28, 2019 11:39 AM
To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl
<tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacnaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>; 'bret.burns@ymail.com'
<bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>; Rhonda Stermer
<rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller, Anita
<AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: Microsoft/Craig PC - meet and confer issues

Barrett,

Zana is on vacation, and I’m writing to follow up on our efforts to meet and confer with plaintiffs regarding their
discovery responses. As I understand it, here are the outstanding items that we are hoping to address at this time (I am
omitting the damages issues for the time being):

Documents and Information Concerning Termination of School Contracts. As you know, we intend to argue that
Plaintiffs’ tortious interference claims are barred by the applicable statute of limitations. For that reason, we
propounded interrogatories and requests for production [RFPs 24, Interrogatories 7, 10] aimed at discerning the end
dates of the relationships with which Microsoft allegedly interfered. We have reviewed the Bates ranges you provided
and have been unable to identify a single school district that stopped doing business with Craig PC after February of
2014. And yet Mr. Bunch and Craig Jr. provided sworn declarations attesting to the contrary. Please confirm whether
there are any school districts that stopped doing business with Craig PC on or after February 25, 2014, and if so, which
ones. Please also confirm whether any school district substantially reduced their business with Craig PC after February
25, 2014. Alternatively, please answer the interrogatories as propounded—although Rule 33(d) permits plaintiffs to
refer to business records, that’s only if “the burden of deriving or ascertaining the answer will be substantially the same


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for either party.” Given that these are your clients’ business records and your clients’ allegations, it is not “substantially
the same” for Microsoft to ascertain this on its own.

Identification of Allegedly Materially False Statement. As Zana’s email indicates, Interrogatories 13 and 17 to Craig PC
asked your clients to identify the actions and false testimony it claims caused the finding of probable cause in Grady
County, as alleged in Paragraph 95 of the operative complaint. Interrogatory 12 and RFP 31 likewise request
identification and supporting documents “relating to any false statement by Microsoft that ‘Plaintiffs’ [sic] violated
Microsoft’s copyright in 2014 and 2015,’ as alleged in Paragraph 153 of the FAC.” Plaintiffs’ responses are incomplete—
consisting of categories and “examples” of statements to Deb Decker. Please provide a comprehensive list of the
statements called for by the Interrogatories and RFP—as those statements are at the heart of this case.

Documents Created/Transmitted/Received Related to the Prosecutions. I have read through the email string
below. It’s not clear to me that we are on the same page as to what we are asking for. The revised RFPs ask for
documents created, transmitted, or received by you that relate to the state and/or federal cases [RFPs 14 & 15]. They
do not call for all records the FBI seized (as those documents were not created, transmitted, or received by you). Please
confirm that you have produced all responsive documents, and identify where in the production we may find them.

Documents Concerning Plea. Item 5 in your April 23 email promises to provide “Peter Scimeca’s communications with
third parties regarding the termination of the federal and/or state case,” which would be responsive to RFPs 24, 38, and
39. You have not produced any such documents. Please confirm there are none, or supplement your production.

Communications with Bunch/Sims. Your email exchange below indicates there are no draft declarations for these
witnesses. However, we also asked for communications with them [RFPs 36 & 37]. Can you please confirm there are no
such communications?

Revised RFPs. Please confirm you have produced all documents responsive to the revised RFPs (with the understanding
that, on their face, they do not ask for everything seized by the FBI).

We are concerned about upcoming deadlines would like to get these issues resolved as soon as we can. Could you
please respond no later than Wednesday of next week? If that does not work, please let me know what does. We are
hoping to bring any disputes to the Court’s attention in mid-July.

If it would be easier to discuss by phone, please let me know.

Regards,
Ambika

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Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, May 28, 2019 1:59 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee


                                                                                          3
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<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Zana,

You requested that we identify responsive bates numbers as to each interrogatory answered pursuant to Rule 33(d).
That information is as follows:

Interrogatory No. 6 – see documents bates labeled Craig 1708-1741 and Craig 16567-16607.

Interrogatory No. 7 – see documents bates labeled Craig 1735-1741 and 16588-16607.

Interrogatory No. 8 – see documents bates labeled Craig 14843-15078, Craig 1708-1741, and Craig 16567-16607.

Interrogatory No. 9 – see documents bates labeled Craig 813-915, Craig 1708-1741 and Craig 16567-16607.

Interrogatory No. 10 – see documents bates labeled Craig 813-915; Craig 1708-1741; Craig 14704-15078; and Craig
16567-16607.

Interrogatory No. 11 – see documents bates labeled Craig 813-915; Craig 1708-1741; Craig 14704-15078; and Craig
16567-16607.

You also requested that we identify documents and/or categories of documents that Plaintiffs are withholding as to
each request. I want to be very clear about this because I feel I’ve already answered it. In response to any request where
Microsoft sought all documents related to the federal and/or state case, I believe that every document seized by the FBI
may be responsive. However I think those requests were overly broad and irrelevant as I’ve previously explained. The
FBI seized general business records including payroll records, HR records, time sheets of employees, all invoices, all
service tickets, basically every business record in existence as of January 2011. We have withheld documents seized by
the FBI that are unrelated to licensing, cloning, product keys, certificates of authenticity, academic discount pricing, and
hard disk loading. This means we have withheld (1) payroll records, (2) HR records (garnishments, child support), (3)
time cards of employees, (4) all invoices sent to customers by Craig PC, (5) all invoices received from all vendors by Craig
PC (other than the licensing invoices that have been produced), (6) all service tickets, (7) insurance information, (8)
credit card information, (9) building and property expenses (insurance, taxes, utilities), and (10) other general business
records unrelated to the case.

Plaintiffs are not refusing to produce documents related to their damages. We have produced documents related to
damages already, including tax returns, revenue records from 2010-2018, and invoices for attorney fees incurred in the
underlying litigation. I have identified the type of damages Plaintiffs are seeking in the Rule 26 initial disclosures. I don’t
agree that Plaintiffs’ position requires Microsoft to wait for the expert report to investigate the claim of damages. The
only thing you don’t have is the calculation. The underlying source documents that our expert will rely on have been
produced.

I am reviewing the remainder of your email and the revised requests for production. I will have a response to the
remaining items by this Friday as well as additional document production.

Barrett

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Tuesday, May 21, 2019 6:49 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
                                                               4
                            Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 94 of 154
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

We have taken considerable time to go through the information Plaintiffs have produced to date and we still need
clarity regarding/production of multiple items:

            Amended RFP/ROG responses specifically designating responsive bates numbers as to each interrogatory
             answered pursuant to Rule 33(d), any documents and/or categories of documents that Plaintiffs are
             withholding as to each request, and responses to Microsoft’s revised RFPs, as set forth below.
            Identification of the source and type of damages Plaintiffs allege. Microsoft is not obligated to wait for Plaintiffs’
             expert report to investigate Plaintiffs’ claim of damages and Plaintiffs cannot rely on communications and/or
             documents allegedly supporting damages at trial that they refuse to produce during the course of
             discovery. Microsoft’s ROG 8 to Craig Sr. and Craig II requested the identification of all “economic and non-
             economic damages.” Microsoft’s RFP 30 to Craig PC also requested Plaintiffs: “[p]roduce all documents used,
             relied upon, consulted, or that support or disprove any category of damages you seek in this case, including any
             computation of damages in your initial disclosures (or any supplemental or revised initial
             disclosures).” Microsoft’s RFPs 19 and 22 to Craig PC and Microsoft’s RFPs 11, 14, and 19 to Craig Sr. and Craig II
             further requested all documents supporting Plaintiffs’ allegations of damages. Plaintiffs’ Initial Disclosures
             provided only limited information concerning Plaintiffs’ damages allegations and do not specify which categories
             of damages Plaintiffs are seeking from Microsoft (as opposed to CDWG) or the sources of those damages (i.e.
             which specific school districts and/or private clients).
            Identification of every “material false representation[]” Plaintiffs claim was made by Microsoft. Microsoft’s ROG
             17 to Craig PC requested Plaintiffs “[i]Identify the false testimony provided by Defendant Microsoft’s
             employees” (including actor, date, time, and place of the event) that caused the finding of probable cause by the
             District Court of Grady County, as alleged in Paragraph 95 of the FAC.” Craig PC’s response identifies categories
             of statements allegedly made by Microsoft (not actual statements) and object that Microsoft’s request “is
             unduly burdensome because it requires Plaintiff to scour thousands of pages to find every example of Microsoft
             making the same false statements repeatedly.” Plaintiffs further identify limited statements allegedly made by
             Microsoft personnel to Deborah Decker. If Plaintiffs intend to rely on alleged statements made by Microsoft
             personnel to anyone other than Deborah Decker, or statements not specifically identified in their discovery
             responses, these statements must be disclosed in discovery so that Microsoft has an opportunity to investigate
             the facts and circumstances surrounding the alleged statements and depose the alleged recipients and/or
             witnesses.
            Documents Plaintiffs have agreed to produce from Peter Scimeca concerning termination of the state and
             federal cases, including representations to the government and at the settlement conference.
            Documents responsive to Microsoft’s revised RFPs, below.

Please supplement the above requests on or before May 28, 2019. Please let me know if we need to have a phone call
to discuss.

Thank you,
Zana

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Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, April 23, 2019 12:09 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

[EXTERNAL]

Zana,

          1. Under FRCP 34, the producing party is required to state whether or not any documents are being withheld
             based on objections. We objected to Requests for Production that asked us to produce all documents
             “related to” the underlying cases based on overbreadth. I interpreted these requests to encompass all
             documents seized by the FBI in the federal criminal investigation. The FBI seized general business records
             including payroll records, HR records, time sheets of employees, all invoices, all service tickets, basically
             every business record in existence as of January 2011. In this case, the Craigs searched all the documents
             seized by the FBI for documents that were responsive to Microsoft’s requests, narrowed to search for
             documents related to licensing, cloning, product keys, certificates of authenticity, academic discount pricing,
             and hard disk loading. Defendants would not be entitled to discovery of every single business record in
             existence in January 2011; the FBI’s seizure of everything does not serve to expand the scope of discovery in
             this case.
          2. The Rule 33(d) references are as follows: Craig 813-915; Craig 1708-1741; Craig 14704-15078; and Craig
             16567-16607 (these documents were inadvertently not produced; a copy is attached).
          3. There are no drafts of the Sims or Bunch declarations;
          4. We withheld only one document based on privilege; however, I have reviewed the document and
             determined it should not have been withheld because it was written by Scott Forbes, and we have not
             asserted any privilege with regard to communications involving Mr. Forbes. A copy of the document is
             attached as Craig 16608-16609.
          5. We will produce Peter Scimeca’s communications with third parties regarding the termination of the federal
             and/or state case. We are confirming with Mr. Scimeca what, if anything, he has that is in addition to what
             has already been produced.
          6. Plaintiffs seek the damages outlined in their Initial Disclosures. As I previously indicated, we intend to
             present expert testimony calculating the economic damages that Plaintiffs seek.

I’m going to review the narrowed discovery requests and determine if we have any objections and, if not, what, if any,
additional, responsive documents may exist.

Barrett

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Thursday, April 18, 2019 1:14 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
                                                              6
                    Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 96 of 154
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>;
Bugaighis, Zana <ZanaBugaighis@dwt.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

Following up here. On or before April 23, 2019, please provide the responsive bates numbers to Microsoft’s ROGs and
revised Answers and Responses to Microsoft’s RFPs and ROGs specifying:

          Documents and/or categories of documents that Plaintiffs are withholding;
          If Plaintiffs will produce documents from Peter Scimeca concerning termination of the state and federal cases,
           including representations to the government and at the settlement conference;
          Whether any drafts of the Sims and/or Bunch declarations and/or any communications with Sims and/or Bunch
           exists;
          Final invoices sent to Craig PC customers;
          Identification of the source and type of damages Plaintiffs will allege and ask their expert to calculate;
          Verification that no privileged documents exist.

Below are Microsoft’s revised RFPs:

RFP 14 - Produce all documents and communications created, transmitted, or received by you during the investigation
by federal authorities relating to the Federal Case, including all statements you provided to the Federal Government or
federal employees.

RFP 15 - Produce all documents and communications created, transmitted (not including those materials seized by the
State), or received by you during the investigation by state authorities relating to the State Case, including all statements
you provided to the State of Oklahoma or state employees.

RFP 17 - Produce documents and communications sufficient to establish contract formation dates, dates of services,
termination of services, services rendered, and invoice amounts paid for each of your alleged “valid business
relationship and expectancy” with “private clients,” as alleged in Paragraph 151 of the FAC.

RFP 18 - Produce all documents and communications evidencing and/or constituting Microsoft’s “intentional
interference with any valid business relationship or expectancy” with any “private clients,” as alleged in Paragraph 153
of the FAC.

RFP 20 - Produce documents and communications sufficient to establish contract formation dates, dates of services,
termination of services, services rendered, and invoice amounts paid for each of your alleged “valid business
relationship and expectancy” with “school districts,” as alleged in Paragraph 151 of the FAC.

RFP 24 – Produce all documents and communications relating to the termination of any business relationship,
expectancy, or prospective economic advantage with the thirty-seven school districts and/or “private clients.”

RFP 25 - Produce all advertising and/or marketing documents or communications, descriptions of services, and/or
descriptions of products transmitted by you to customers concerning your provision of Microsoft software or computer
services, from January 1, 2006 to the present.

RFP 35 - Produce all communications after January 1, 2006, you have had with any person identified in Section A of your
Initial Disclosures dated November 29, 2018, that relate to Microsoft, this Litigation, the Federal Case, the State Case.

Thank you,
Zana
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Email: zanabugaighis@dwt.com | Website: www.dwt.com

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From: Bugaighis, Zana
Sent: Tuesday, April 09, 2019 1:34 PM
To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton,
Bonnie <BonnieMacnaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

Does 9:15 AM PST work for you?

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.

From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, April 09, 2019 1:28 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

[EXTERNAL]

I will be unavailable at that time. I am available in the morning at 9:00 (PST).

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Tuesday, April 09, 2019 3:26 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee


                                                                                                 8
                            Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 98 of 154
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

PST.

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, April 09, 2019 1:23 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

[EXTERNAL]

Are you suggesting 1:00 p.m. CST or PST?

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Tuesday, April 09, 2019 2:14 PM
To: Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Barrett
Bowers <Barrett@wardglasslaw.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett and Jonathan,

Please let me know if you are available for a meet and confer call tomorrow, Wednesday, April 9, 2019 at 1:00
PM. Unfortunately, if we cannot move forward with discovery expeditiously, Microsoft will have to move to compel as
detailed below and in Microsoft’s attached letter.

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

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From: Bugaighis, Zana
Sent: Monday, April 01, 2019 11:52 PM
To: Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacnaughton@dwt.com>; Barrett

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Bowers <Barrett@wardglasslaw.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<shemesley@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rstermer@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett and Jonathan,

Please let me know when Plaintiffs plan to serve amended ROG and RFP responses and a privilege log in response to
Microsoft’s letter (attached). For every interrogatory that Plaintiffs answered with reference to FRCP 33(d), please make
sure that Plaintiffs supplement their answers with reference to particular bates numbers. Please also ensure that
Plaintiffs clearly state if they are withholding responsive information and/or documents on any basis.

In follow up from our meet and confer with Jonathan, Microsoft needs Plaintiffs’ identification of damages information
on or before April 7, 2019 so that we can pursue additional discovery prior to the discovery cut off.

Microsoft also continues to demand production of responsive information in response to RFPs 36 and 37, requesting “all
documents [and] communications with [Kevin Sims and Todd Bunch] that relate to this Litigation, the Federal Case, the
State case, or any of your claims or allegations in the FAC, including without limitation communications relating to the
[Sims and Bunch] Declaration[s] (including any drafts of [those] declaration[s]).” Plaintiffs contend that these requests
“cover[] documents protected by the work-product privilege to the extent it seeks drafts” of the Sims and Bunch
Declarations and cite Fed. R. Civ. P. 26(b)(3). However, work product shelters the mental processes of the attorney and
“does not protect the underlying facts contained in the documents from discovery.” Oklahoma v. Tyson Foods, Inc., 262
F.R.D. 617, 626 (N.D. Okla. 2009). “This is true even if those facts are attained due to the efforts of the attorney.” Id. at
628. “The privilege derived from the work-product doctrine is not absolute,” and may be waived. United States v.
Nobles, 422 U.S. 225, 239 (1975). “Drafts of documents to be submitted to third parties, although prepared by counsel,
are not generally privileged. Submission of the document to the third party removes any cloak of privilege.” In re
Syngenta AG MIR 162 Corn Litig., No. 14-MD-2591-JWL, 2017 WL 2555834, at *2 (D. Kan. June 13, 2017); see also id. at
*7. Plaintiffs have waived any protections for the requested documents and communications if shared with Sims and
Bunch.

Please let me know if you are available for a call Thursday, April 4, 2019 at 11:00 AM PST to discuss.

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

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From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Friday, March 01, 2019 8:12 PM
To: Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Barrett
Bowers <Barrett@wardglasslaw.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley
<shemesley@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin
<Jonathan@wardglasslaw.com>; Rhonda Stermer <rstermer@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee
<AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>;

                                                                                                10
                           Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 100 of 154
Bugaighis, Zana <ZanaBugaighis@dwt.com>
Subject: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

Please see the attached correspondence.

Thanks,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

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Mitterndorfer, Ericka




From:                                                          Doran, Ambika
Sent:                                                          Tuesday, July 30, 2019 3:12 PM
To:                                                            Barrett Bowers
Cc:                                                            Bugaighis, Zana; MacNaughton, Bonnie
Subject:                                                       RE: Microsoft/Craig PC - meet and confer issues


Can you also please let me know the answer to the other questions highlighted below (from July 16)?

Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, July 30, 2019 3:11 PM
To: Doran, Ambika <AmbikaDoran@dwt.com>
Cc: Bugaighis, Zana <ZanaBugaighis@dwt.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Subject: Re: Microsoft/Craig PC - meet and confer issues

I have been delayed in getting the production to you. I apologize for the delay. I’m going out of state for the remainder
of the week but I will ensure that the production is completed and sent next Tuesday when I get back. Thank you for
your patience to date.

On Jul 29, 2019, at 11:28 AM, Doran, Ambika <AmbikaDoran@dwt.com> wrote:

                        Barrett: I’m following up on the below. Could you please respond to the other items in my email,
                        highlighted?

                        Ambika Kumar Doran | Davis Wright Tremaine LLP
                        Partner | Co-Chair, Media Law Practice
                        920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
                        Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
                        Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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                        From: Doran, Ambika
                        Sent: Tuesday, July 23, 2019 1:21 PM
                        To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>;
                        Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
                        <BonnieMacnaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie
                        Hemesley <stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>;
                        Jonathan Irwin <Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody
                        Glass <woody@wardglasslaw.com>
                        Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
                        Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
                        Subject: RE: Microsoft/Craig PC - meet and confer issues

                        Thanks. We’ve been asking for this stuff for a while, so we are hopeful we’ll get an answer by then, or if
                        not, we may need to file a motion.
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Can you also respond to my specific questions about the allegedly false statements, as well as tell us
when to expect your document production? We anticipated receiving it last week.


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Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
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Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, July 23, 2019 1:19 PM
To: Doran, Ambika <AmbikaDoran@dwt.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C.
Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn
Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft/Craig PC - meet and confer issues

I am meeting with my client next week to go over the supplemental answer regarding lost business after
the state charges. I will have a response by Monday, August 5.

From: Doran, Ambika <AmbikaDoran@dwt.com>
Sent: Monday, July 22, 2019 5:24 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas
C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn
Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft/Craig PC - meet and confer issues

Barrett, can you please respond to my message below? Can you also let us know when to expect your
next document production?

Ambika

Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Doran, Ambika
Sent: Tuesday, July 16, 2019 3:35 PM
To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>;
Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie

                                                                              2
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<BonnieMacnaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie
Hemesley <stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>;
Jonathan Irwin <Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody
Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft/Craig PC - meet and confer issues

Thanks, Barrett.

On the first category (termination of contracts), by what date can you provide that information?

On the second category, I just want to be sure I understand your position. The second category
concerns four specific requests—here are the requests and our understanding of/questions about your
position.

1. Rog 12. Identify each and every false statement you claim was made by Microsoft, or any
representative thereof, including the speaker, each person who was present for the statement, the date,
the time, and the place. Paragraph 1 of your response identifies an “overarching false statement” with
six subcategories, followed by examples. Can you please confirm that the first paragraph contains all of
the statements you claim are materially false? In other words, am I correct that these are all the
allegedly false statements, but that you claim they were repeated, and it is too burdensome for you to
identify every instance of repetition? Or is it your position that paragraph 1 of your response does not
comprehensively identify the allegedly false statements?

2. Rog 13: Identify each and every action by Microsoft (including actor, date, time, and place of the
event) you claim ”caused a federal criminal investigation and state criminal action to be brought against
Plaintiffs Craig PC and Craig, II.” In response, you identified a statement by Agent Decker in the
preliminary hearing that the FBI “was contacted by Microsoft which had received some complaints
about their software being pirated and they had began their own investigation.” You then say that
Microsoft’s records “demonstrate the specifics of who made the complaint, when the complaint was
made, and how the complaint was made.” In this last sentence, what does “complaint” refer to—is it
the communication by Microsoft to Agent Decker, or is it the complaints that Microsoft told the FBI it
had received? We are presuming the former, as the question asks about actions by Microsoft (not third
parties who complained to Microsoft). Assuming that is correct, is it your position that there are other
statements by Microsoft that are not listed in this response, or is it your position that this is one
statement that was repeated and a request for each instance is overbroad?

3. Rog 17. This asks for the “false testimony provided by Defendant Microsoft’s employees.” Your
response refers to Rog 12. Can you please identify which part of Rog 12 is responsive to Rog 17?

4. RFP 31. This seeks documents “relating to any false statement that ‘Plaintiffs’ [sic] violated
Microsoft’s copyright in 2014 and 2015.” I don’t think we have a dispute over this one, as your response
appears to indicate you would provide all responsive documents. Am I correct?

Thanks again.

Ambika

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Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/
                                                          3
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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, July 16, 2019 12:58 PM
To: Doran, Ambika <AmbikaDoran@dwt.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C.
Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn
Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft/Craig PC - meet and confer issues

Ambika,

Documents and Information Concerning Termination of School Contracts. Plaintiffs will identify the
specific school districts that ceased doing business and/or reduced their business after the state charges
were filed in 2014.

Identification of Allegedly Materially False Statement. I don’t think I characterized it as “not my job” to
sort through the record to identify all instances of materially false statements made by Microsoft. My
position is that it is overly broad and unduly burdensome to require Plaintiffs to comb through 16,000
pages to identify every instance that a false statement is repeated. My clients’ initial discovery responses
identify the false statements that Microsoft and/or its employees made to the lead investigator Deborah
Decker. I don’t believe I have anywhere stated that Microsoft only made those statements to Deborah
Decker. It remains my position that it is overly broad and unduly burdensome to have the plaintiffs
identify every instance these false statements were repeated. I don’t intend to supplement Craig PC’s
Answer to Interrogatory No. 12.

Documents Created/Transmitted/Received Related to the Prosecutions (RFPs 14 or 15). I believe that,
in addition to my upcoming production, I have produced all responsive documents.

Documents Concerning Plea. I will be producing these documents by Friday of this week.

With this, I believe that addresses all of the issues you have raised.

Barrett

From: Doran, Ambika <AmbikaDoran@dwt.com>
Sent: Monday, July 08, 2019 9:42 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas
C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn
Williams <Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: RE: Microsoft/Craig PC - meet and confer issues

Barrett,


                                                                              4
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Thanks for talking with me today. I wanted to summarize our understandings, as well as provide clarity
on the RFP we discussed. If anything below looks inconsistent with what we discussed, please let me
know.

Ambika

***

Documents and Information Concerning Termination of School Contracts. You indicated you would let
me know, likely tomorrow (Tuesday), whether you will supplement your responses to the
interrogatories concerning schools that stopped or substantially reduced business with the Craigs after
February 24, 2014. In particular, please note that the documents you referred to in your interrogatory
responses provide information about calendar years, not months, and so we are unable to discern
anything about what happened in 2014 itself.

Identification of Allegedly Materially False Statement. You stated your belief that it was not Plaintiffs’
job to sort through the record to identify all instances of allegedly materially false statements made by
Microsoft. You also confirmed that all such statements were made to Deb Decker. You nonetheless
agreed to get back to me whether you would supplement these responses.

Documents Created/Transmitted/Received Related to the Prosecutions (RFPs 14 or 15). You indicated
that you have produced (or will soon produce) documents created or transmitted by the Craigs that
relate to the state and/or federal cases. You indicated that documents “received” in connection with
those cases would include all documents returned to the Craigs by the FBI after the civil forfeiture
action. Again, to be clear, we do not want such documents. We do want documents received in
connection with those cases that were not part of the return of documents by the FBI (unless there are
documents that were both received by the Craigs and then later received by the FBI—the former would
fall within our request). If this still does not provide sufficient clarity, please let me know and we can
discuss again.

Documents Concerning Plea. You indicated you have two bankers’ boxes of documents that concern (at
least in part) this request. Please let us know when you intend to produce them. You also indicated that
you would consider our request for a privilege log. I will consult with our client regarding your proposal
that the log be narrowed to documents concerning the plea and get back to you.

Communications with Bunch/Sims. You indicated there are no such documents.

Revised RFPs. You indicated other than the ambiguity above (“received by”), none of the requests were
ambiguous.

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Partner | Co-Chair, Media Law Practice
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Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Doran, Ambika
Sent: Friday, June 28, 2019 11:39 AM
To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>;
Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacnaughton@dwt.com>; Evelyn Williams <Ewilliams@wardglasslaw.com>; Stephanie
Hemesley <stephanie@wardglasslaw.com>; 'bret.burns@ymail.com' <bret.burns@ymail.com>;
                                                                              5
           Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 107 of 154
Jonathan Irwin <Jonathan@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody
Glass <woody@wardglasslaw.com>
Cc: Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva, Aimee <AimeeSilva@dwt.com>; Miller,
Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com' <bnelon@hallestill.com>
Subject: Microsoft/Craig PC - meet and confer issues

Barrett,

Zana is on vacation, and I’m writing to follow up on our efforts to meet and confer with plaintiffs
regarding their discovery responses. As I understand it, here are the outstanding items that we are
hoping to address at this time (I am omitting the damages issues for the time being):

Documents and Information Concerning Termination of School Contracts. As you know, we intend to
argue that Plaintiffs’ tortious interference claims are barred by the applicable statute of limitations. For
that reason, we propounded interrogatories and requests for production [RFPs 24, Interrogatories 7, 10]
aimed at discerning the end dates of the relationships with which Microsoft allegedly interfered. We
have reviewed the Bates ranges you provided and have been unable to identify a single school district
that stopped doing business with Craig PC after February of 2014. And yet Mr. Bunch and Craig Jr.
provided sworn declarations attesting to the contrary. Please confirm whether there are any school
districts that stopped doing business with Craig PC on or after February 25, 2014, and if so, which
ones. Please also confirm whether any school district substantially reduced their business with Craig PC
after February 25, 2014. Alternatively, please answer the interrogatories as propounded—although
Rule 33(d) permits plaintiffs to refer to business records, that’s only if “the burden of deriving or
ascertaining the answer will be substantially the same for either party.” Given that these are your
clients’ business records and your clients’ allegations, it is not “substantially the same” for Microsoft to
ascertain this on its own.

Identification of Allegedly Materially False Statement. As Zana’s email indicates, Interrogatories 13
and 17 to Craig PC asked your clients to identify the actions and false testimony it claims caused the
finding of probable cause in Grady County, as alleged in Paragraph 95 of the operative
complaint. Interrogatory 12 and RFP 31 likewise request identification and supporting documents
“relating to any false statement by Microsoft that ‘Plaintiffs’ [sic] violated Microsoft’s copyright in 2014
and 2015,’ as alleged in Paragraph 153 of the FAC.” Plaintiffs’ responses are incomplete—consisting of
categories and “examples” of statements to Deb Decker. Please provide a comprehensive list of the
statements called for by the Interrogatories and RFP—as those statements are at the heart of this case.

Documents Created/Transmitted/Received Related to the Prosecutions. I have read through the email
string below. It’s not clear to me that we are on the same page as to what we are asking for. The
revised RFPs ask for documents created, transmitted, or received by you that relate to the state and/or
federal cases [RFPs 14 & 15]. They do not call for all records the FBI seized (as those documents were
not created, transmitted, or received by you). Please confirm that you have produced all responsive
documents, and identify where in the production we may find them.

Documents Concerning Plea. Item 5 in your April 23 email promises to provide “Peter Scimeca’s
communications with third parties regarding the termination of the federal and/or state case,” which
would be responsive to RFPs 24, 38, and 39. You have not produced any such documents. Please
confirm there are none, or supplement your production.

Communications with Bunch/Sims. Your email exchange below indicates there are no draft
declarations for these witnesses. However, we also asked for communications with them [RFPs 36 &
37]. Can you please confirm there are no such communications?


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Revised RFPs. Please confirm you have produced all documents responsive to the revised RFPs (with the
understanding that, on their face, they do not ask for everything seized by the FBI).

We are concerned about upcoming deadlines would like to get these issues resolved as soon as we
can. Could you please respond no later than Wednesday of next week? If that does not work, please let
me know what does. We are hoping to bring any disputes to the Court’s attention in mid-July.

If it would be easier to discuss by phone, please let me know.

Regards,
Ambika

Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, May 28, 2019 1:59 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Zana,

You requested that we identify responsive bates numbers as to each interrogatory answered pursuant
to Rule 33(d). That information is as follows:

Interrogatory No. 6 – see documents bates labeled Craig 1708-1741 and Craig 16567-16607.

Interrogatory No. 7 – see documents bates labeled Craig 1735-1741 and 16588-16607.

Interrogatory No. 8 – see documents bates labeled Craig 14843-15078, Craig 1708-1741, and Craig
16567-16607.

Interrogatory No. 9 – see documents bates labeled Craig 813-915, Craig 1708-1741 and Craig 16567-
16607.

Interrogatory No. 10 – see documents bates labeled Craig 813-915; Craig 1708-1741; Craig 14704-15078;
and Craig 16567-16607.

Interrogatory No. 11 – see documents bates labeled Craig 813-915; Craig 1708-1741; Craig 14704-15078;
and Craig 16567-16607.



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You also requested that we identify documents and/or categories of documents that Plaintiffs are
withholding as to each request. I want to be very clear about this because I feel I’ve already answered it.
In response to any request where Microsoft sought all documents related to the federal and/or state
case, I believe that every document seized by the FBI may be responsive. However I think those requests
were overly broad and irrelevant as I’ve previously explained. The FBI seized general business records
including payroll records, HR records, time sheets of employees, all invoices, all service tickets, basically
every business record in existence as of January 2011. We have withheld documents seized by the FBI
that are unrelated to licensing, cloning, product keys, certificates of authenticity, academic discount
pricing, and hard disk loading. This means we have withheld (1) payroll records, (2) HR records
(garnishments, child support), (3) time cards of employees, (4) all invoices sent to customers by Craig PC,
(5) all invoices received from all vendors by Craig PC (other than the licensing invoices that have been
produced), (6) all service tickets, (7) insurance information, (8) credit card information, (9) building and
property expenses (insurance, taxes, utilities), and (10) other general business records unrelated to the
case.

Plaintiffs are not refusing to produce documents related to their damages. We have produced
documents related to damages already, including tax returns, revenue records from 2010-2018, and
invoices for attorney fees incurred in the underlying litigation. I have identified the type of damages
Plaintiffs are seeking in the Rule 26 initial disclosures. I don’t agree that Plaintiffs’ position requires
Microsoft to wait for the expert report to investigate the claim of damages. The only thing you don’t
have is the calculation. The underlying source documents that our expert will rely on have been
produced.

I am reviewing the remainder of your email and the revised requests for production. I will have a
response to the remaining items by this Friday as well as additional document production.

Barrett

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Tuesday, May 21, 2019 6:49 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

We have taken considerable time to go through the information Plaintiffs have produced to date and we
still need clarity regarding/production of multiple items:

          Amended RFP/ROG responses specifically designating responsive bates numbers as to each
           interrogatory answered pursuant to Rule 33(d), any documents and/or categories of
           documents that Plaintiffs are withholding as to each request, and responses to Microsoft’s
           revised RFPs, as set forth below.
          Identification of the source and type of damages Plaintiffs allege. Microsoft is not obligated to
           wait for Plaintiffs’ expert report to investigate Plaintiffs’ claim of damages and Plaintiffs cannot
           rely on communications and/or documents allegedly supporting damages at trial that they
                                                         8
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             refuse to produce during the course of discovery. Microsoft’s ROG 8 to Craig Sr. and Craig II
             requested the identification of all “economic and non-economic damages.” Microsoft’s RFP 30
             to Craig PC also requested Plaintiffs: “[p]roduce all documents used, relied upon, consulted, or
             that support or disprove any category of damages you seek in this case, including any
             computation of damages in your initial disclosures (or any supplemental or revised initial
             disclosures).” Microsoft’s RFPs 19 and 22 to Craig PC and Microsoft’s RFPs 11, 14, and 19 to
             Craig Sr. and Craig II further requested all documents supporting Plaintiffs’ allegations of
             damages. Plaintiffs’ Initial Disclosures provided only limited information concerning Plaintiffs’
             damages allegations and do not specify which categories of damages Plaintiffs are seeking from
             Microsoft (as opposed to CDWG) or the sources of those damages (i.e. which specific school
             districts and/or private clients).
            Identification of every “material false representation[]” Plaintiffs claim was made by
             Microsoft. Microsoft’s ROG 17 to Craig PC requested Plaintiffs “[i]Identify the false testimony
             provided by Defendant Microsoft’s employees” (including actor, date, time, and place of the
             event) that caused the finding of probable cause by the District Court of Grady County, as
             alleged in Paragraph 95 of the FAC.” Craig PC’s response identifies categories of statements
             allegedly made by Microsoft (not actual statements) and object that Microsoft’s request “is
             unduly burdensome because it requires Plaintiff to scour thousands of pages to find every
             example of Microsoft making the same false statements repeatedly.” Plaintiffs further identify
             limited statements allegedly made by Microsoft personnel to Deborah Decker. If Plaintiffs
             intend to rely on alleged statements made by Microsoft personnel to anyone other than
             Deborah Decker, or statements not specifically identified in their discovery responses, these
             statements must be disclosed in discovery so that Microsoft has an opportunity to investigate
             the facts and circumstances surrounding the alleged statements and depose the alleged
             recipients and/or witnesses.
            Documents Plaintiffs have agreed to produce from Peter Scimeca concerning termination of the
             state and federal cases, including representations to the government and at the settlement
             conference.
            Documents responsive to Microsoft’s revised RFPs, below.

Please supplement the above requests on or before May 28, 2019. Please let me know if we need to
have a phone call to discuss.

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.

From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, April 23, 2019 12:09 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses


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[EXTERNAL]

Zana,

           1. Under FRCP 34, the producing party is required to state whether or not any documents are
              being withheld based on objections. We objected to Requests for Production that asked us
              to produce all documents “related to” the underlying cases based on overbreadth. I
              interpreted these requests to encompass all documents seized by the FBI in the federal
              criminal investigation. The FBI seized general business records including payroll records, HR
              records, time sheets of employees, all invoices, all service tickets, basically every business
              record in existence as of January 2011. In this case, the Craigs searched all the documents
              seized by the FBI for documents that were responsive to Microsoft’s requests, narrowed to
              search for documents related to licensing, cloning, product keys, certificates of authenticity,
              academic discount pricing, and hard disk loading. Defendants would not be entitled to
              discovery of every single business record in existence in January 2011; the FBI’s seizure of
              everything does not serve to expand the scope of discovery in this case.
           2. The Rule 33(d) references are as follows: Craig 813-915; Craig 1708-1741; Craig 14704-
              15078; and Craig 16567-16607 (these documents were inadvertently not produced; a copy
              is attached).
           3. There are no drafts of the Sims or Bunch declarations;
           4. We withheld only one document based on privilege; however, I have reviewed the
              document and determined it should not have been withheld because it was written by Scott
              Forbes, and we have not asserted any privilege with regard to communications involving Mr.
              Forbes. A copy of the document is attached as Craig 16608-16609.
           5. We will produce Peter Scimeca’s communications with third parties regarding the
              termination of the federal and/or state case. We are confirming with Mr. Scimeca what, if
              anything, he has that is in addition to what has already been produced.
           6. Plaintiffs seek the damages outlined in their Initial Disclosures. As I previously indicated, we
              intend to present expert testimony calculating the economic damages that Plaintiffs seek.

I’m going to review the narrowed discovery requests and determine if we have any objections and, if
not, what, if any, additional, responsive documents may exist.

Barrett

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Thursday, April 18, 2019 1:14 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

Following up here. On or before April 23, 2019, please provide the responsive bates numbers to
Microsoft’s ROGs and revised Answers and Responses to Microsoft’s RFPs and ROGs specifying:


                                                       10
          Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 112 of 154
        Documents and/or categories of documents that Plaintiffs are withholding;
        If Plaintiffs will produce documents from Peter Scimeca concerning termination of the state and
         federal cases, including representations to the government and at the settlement conference;
        Whether any drafts of the Sims and/or Bunch declarations and/or any communications with
         Sims and/or Bunch exists;
        Final invoices sent to Craig PC customers;
        Identification of the source and type of damages Plaintiffs will allege and ask their expert to
         calculate;
        Verification that no privileged documents exist.

Below are Microsoft’s revised RFPs:

RFP 14 - Produce all documents and communications created, transmitted, or received by you during
the investigation by federal authorities relating to the Federal Case, including all statements you
provided to the Federal Government or federal employees.

RFP 15 - Produce all documents and communications created, transmitted (not including those materials
seized by the State), or received by you during the investigation by state authorities relating to the State
Case, including all statements you provided to the State of Oklahoma or state employees.

RFP 17 - Produce documents and communications sufficient to establish contract formation dates, dates
of services, termination of services, services rendered, and invoice amounts paid for each of your
alleged “valid business relationship and expectancy” with “private clients,” as alleged in Paragraph 151
of the FAC.

RFP 18 - Produce all documents and communications evidencing and/or constituting Microsoft’s
“intentional interference with any valid business relationship or expectancy” with any “private clients,”
as alleged in Paragraph 153 of the FAC.

RFP 20 - Produce documents and communications sufficient to establish contract formation dates, dates
of services, termination of services, services rendered, and invoice amounts paid for each of your
alleged “valid business relationship and expectancy” with “school districts,” as alleged in Paragraph 151
of the FAC.

RFP 24 – Produce all documents and communications relating to the termination of any business
relationship, expectancy, or prospective economic advantage with the thirty-seven school districts
and/or “private clients.”

RFP 25 - Produce all advertising and/or marketing documents or communications, descriptions of
services, and/or descriptions of products transmitted by you to customers concerning your provision of
Microsoft software or computer services, from January 1, 2006 to the present.

RFP 35 - Produce all communications after January 1, 2006, you have had with any person identified in
Section A of your Initial Disclosures dated November 29, 2018, that relate to Microsoft, this Litigation,
the Federal Case, the State Case.

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

                                                      11
              Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 113 of 154

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.

From: Bugaighis, Zana
Sent: Tuesday, April 09, 2019 1:34 PM
To: 'Barrett Bowers' <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacnaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

Does 9:15 AM PST work for you?

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.

From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, April 09, 2019 1:28 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

[EXTERNAL]

I will be unavailable at that time. I am available in the morning at 9:00 (PST).

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Tuesday, April 09, 2019 3:26 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

                                                                                   12
              Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 114 of 154

PST.

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
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Email: zanabugaighis@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.

From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, April 09, 2019 1:23 PM
To: Bugaighis, Zana <ZanaBugaighis@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>;
MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

[EXTERNAL]

Are you suggesting 1:00 p.m. CST or PST?

From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Tuesday, April 09, 2019 2:14 PM
To: Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Barrett Bowers <Barrett@wardglasslaw.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett and Jonathan,

Please let me know if you are available for a meet and confer call tomorrow, Wednesday, April 9, 2019
at 1:00 PM. Unfortunately, if we cannot move forward with discovery expeditiously, Microsoft will have
to move to compel as detailed below and in Microsoft’s attached letter.

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.

From: Bugaighis, Zana
Sent: Monday, April 01, 2019 11:52 PM
To: Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie

                                                                                   13
              Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 115 of 154
<BonnieMacnaughton@dwt.com>; Barrett Bowers <Barrett@wardglasslaw.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <shemesley@wardglasslaw.com>;
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rstermer@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>
Subject: RE: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett and Jonathan,

Please let me know when Plaintiffs plan to serve amended ROG and RFP responses and a privilege log in
response to Microsoft’s letter (attached). For every interrogatory that Plaintiffs answered with
reference to FRCP 33(d), please make sure that Plaintiffs supplement their answers with reference to
particular bates numbers. Please also ensure that Plaintiffs clearly state if they are withholding
responsive information and/or documents on any basis.

In follow up from our meet and confer with Jonathan, Microsoft needs Plaintiffs’ identification of
damages information on or before April 7, 2019 so that we can pursue additional discovery prior to the
discovery cut off.

Microsoft also continues to demand production of responsive information in response to RFPs 36 and
37, requesting “all documents [and] communications with [Kevin Sims and Todd Bunch] that relate to
this Litigation, the Federal Case, the State case, or any of your claims or allegations in the FAC, including
without limitation communications relating to the [Sims and Bunch] Declaration[s] (including any drafts
of [those] declaration[s]).” Plaintiffs contend that these requests “cover[] documents protected by the
work-product privilege to the extent it seeks drafts” of the Sims and Bunch Declarations and cite Fed. R.
Civ. P. 26(b)(3). However, work product shelters the mental processes of the attorney and “does not
protect the underlying facts contained in the documents from discovery.” Oklahoma v. Tyson Foods,
Inc., 262 F.R.D. 617, 626 (N.D. Okla. 2009). “This is true even if those facts are attained due to the
efforts of the attorney.” Id. at 628. “The privilege derived from the work-product doctrine is not
absolute,” and may be waived. United States v. Nobles, 422 U.S. 225, 239 (1975). “Drafts of documents
to be submitted to third parties, although prepared by counsel, are not generally privileged. Submission
of the document to the third party removes any cloak of privilege.” In re Syngenta AG MIR 162 Corn
Litig., No. 14-MD-2591-JWL, 2017 WL 2555834, at *2 (D. Kan. June 13, 2017); see also id. at *7. Plaintiffs
have waived any protections for the requested documents and communications if shared with Sims and
Bunch.

Please let me know if you are available for a call Thursday, April 4, 2019 at 11:00 AM PST to discuss.

Thank you,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
Email: zanabugaighis@dwt.com | Website: www.dwt.com

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From: Bugaighis, Zana <ZanaBugaighis@dwt.com>
Sent: Friday, March 01, 2019 8:12 PM
To: Thomas C. Koessl <tkoessl@lowis-gellen.com>; MacNaughton, Bonnie
<BonnieMacNaughton@dwt.com>; Barrett Bowers <Barrett@wardglasslaw.com>; Evelyn Williams
<Ewilliams@wardglasslaw.com>; Stephanie Hemesley <shemesley@wardglasslaw.com>;
                                                                                   14
              Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 116 of 154
'bret.burns@ymail.com' <bret.burns@ymail.com>; Jonathan Irwin <Jonathan@wardglasslaw.com>;
Rhonda Stermer <rstermer@wardglasslaw.com>; Woody Glass <woody@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Silva,
Aimee <AimeeSilva@dwt.com>; Miller, Anita <AnitaMiller@dwt.com>; 'bnelon@hallestill.com'
<bnelon@hallestill.com>; Bugaighis, Zana <ZanaBugaighis@dwt.com>
Subject: Microsoft Meet and Confer Letter re: Craig PC Discovery Responses

Barrett,

Please see the attached correspondence.

Thanks,
Zana

Zana Bugaighis | Davis Wright Tremaine LLP
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8304 | Fax: (206) 757-7304
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Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 124 of 154
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Mitterndorfer, Ericka




From:                                              Doran, Ambika
Sent:                                              Monday, August 19, 2019 5:11 PM
To:                                                Barrett Bowers; MacNaughton, Bonnie; Kalinowski, Caesar; Thomas C. Koessl; Shinn, Ron;
                                                   Woody Glass; 'Bret.Burns@ymail.com'
Cc:                                                Evelyn Williams
Subject:                                           RE: Craig PC et al. v. Microsoft et al.


Thanks, Barrett. Can you please advise as to status?

I’ll separately send you an email on one other outstanding issue.

Regards,
Ambika

Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Thursday, August 15, 2019 2:27 PM
To: Doran, Ambika <AmbikaDoran@dwt.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Kalinowski,
Caesar <CaesarKalinowski@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; Shinn, Ron
<Ron.Shinn@mcafeetaft.com>; Woody Glass <woody@wardglasslaw.com>; 'Bret.Burns@ymail.com'
<Bret.Burns@ymail.com>
Cc: Evelyn Williams <Ewilliams@wardglasslaw.com>
Subject: RE: Craig PC et al. v. Microsoft et al.

Yes, I did. We will be meeting again tomorrow to obtain some more information necessary to finalize our supplemental
answer and production.

Barrett

From: Doran, Ambika <AmbikaDoran@dwt.com>
Sent: Tuesday, August 13, 2019 11:40 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>;
Kalinowski, Caesar <CaesarKalinowski@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; Shinn, Ron
<Ron.Shinn@mcafeetaft.com>; Woody Glass <woody@wardglasslaw.com>; 'Bret.Burns@ymail.com'
<Bret.Burns@ymail.com>
Cc: Evelyn Williams <Ewilliams@wardglasslaw.com>
Subject: RE: Craig PC et al. v. Microsoft et al.

Barrett: Were you able to meet with your clients last week? When can we expect a supplemental production and
answers to the questions in my email?

Thanks,
Ambika

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Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
920 Fifth Avenue, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Tuesday, August 06, 2019 2:25 PM
To: Doran, Ambika <AmbikaDoran@dwt.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; Kalinowski,
Caesar <CaesarKalinowski@dwt.com>; Thomas C. Koessl <tkoessl@lowis-gellen.com>; Shinn, Ron
<Ron.Shinn@mcafeetaft.com>; Woody Glass <woody@wardglasslaw.com>; 'Bret.Burns@ymail.com'
<Bret.Burns@ymail.com>
Cc: Evelyn Williams <Ewilliams@wardglasslaw.com>
Subject: Craig PC et al. v. Microsoft et al.

Counsel,

I have still not received any written discovery responses or document production from CDWG. The discovery requests
were served on May 9. The responses are now long overdue. When will the responses and document production be
provided?

There is also apparently a problem opening Microsoft’s document production. I am not clear on what the problem is but
we have been unable to access the documents. Were the documents sent as pdf’s? It may be best if you can re-send the
documents on CD’s.

I had intended to provide supplemental responses and document production today, but I can’t do that because of
unexpected scheduling issues that prevented me from meeting with my client last week. I have a new meeting
scheduled with them this week. I also want to review Microsoft’s document production prior to answering Ambika’s
questions set out in her July 16 email; I am still waiting to do that but have been unable thus far. Hopefully that access
issue can be resolved shortly.

Barrett




                                                                                                        Ward & Glass, LLP
                                                                                                        1601 36th Ave. NW, Suite 100
                                                                                                        Norman, OK 73072
                                                                                                        Telephone: (405) 360-9700
                  Barrett T. Bowers                                                                     Facsimile: (405) 360-7902
                   Attorney at Law




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Mitterndorfer, Ericka




From:                                                 Doran, Ambika
Sent:                                                 Wednesday, September 04, 2019 12:33 PM
To:                                                   Barrett Bowers
Cc:                                                   MacNaughton, Bonnie; Li, Xiang; Smith, Lesley; Kalinowski, Caesar;
                                                      'bnelon@hallestill.com'
Subject:                                              RE: Craig PC et al. v. Microsoft et al.

Follow Up Flag:                                       Follow up
Flag Status:                                          Flagged


Barrett,
As you know, we have been meeting and conferring for more than five months. Given the upcoming conference with
the court, we don’t’ think we can wait any longer to file a motion to compel.

I am listing the items that are outstanding below. With respect to the first three categories, please supplement your
responses and production no later than September 9. With respect to the last category, please let us know the
particulars of your privilege claim. If are unable to resolve our disputes by Monday, we will prepare a motion to compel.

Regards,
Ambika

                        1. Documents and Information Concerning Termination of School Contracts [RFPs 24, Rogs 7, 10]. On July 16, you
                           agreed to identify the school districts that either stopped or substantially reduced their business with Craig PC
                           after the state filed charges in 2014. To be clear, the operative date is February 24, 2014.

                        2. Identification of Allegedly Materially False Statements (Rogs 12, 13, 17, RFP 31]. You indicated you did not
                           intend to supplement your response to Interrogatory 12. In response, also on July 16, I asked several follow up
                           questions to which you have not responded, as follows:

                                a. Rog 12. Identify each and every false statement you claim was made by Microsoft, or any
                                   representative thereof, including the speaker, each person who was present for the statement, the date,
                                   the time, and the place. Paragraph 1 of your response identifies an “overarching false statement” with
                                   six subcategories, followed by examples. Can you please confirm that the first paragraph contains all of
                                   the statements you claim are materially false? In other words, am I correct that these are all the
                                   allegedly false statements, but that you claim they were repeated, and it is too burdensome for you to
                                   identify every instance of repetition? Or is it your position that paragraph 1 of your response does not
                                   comprehensively identify the allegedly false statements?

                                b. Identify each and every action by Microsoft (including actor, date, time, and place of the event) you
                                   claim ”caused a federal criminal investigation and state criminal action to be brought against Plaintiffs
                                   Craig PC and Craig, II.” In response, you identified a statement by Agent Decker in the preliminary
                                   hearing that the FBI “was contacted by Microsoft which had received some complaints about their
                                   software being pirated and they had began their own investigation.” You then say that Microsoft’s
                                   records “demonstrate the specifics of who made the complaint, when the complaint was made, and
                                   how the complaint was made.” In this last sentence, what does “complaint” refer to—is it the
                                   communication by Microsoft to Agent Decker, or is it the complaints that Microsoft told the FBI it had
                                   received? We are presuming the former, as the question asks about actions by Microsoft (not third
                                   parties who complained to Microsoft). Assuming that is correct, is it your position that there are other


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                     statements by Microsoft that are not listed in this response, or is it your position that this is one
                     statement that was repeated and a request for each instance is overbroad?
                  c. Rog 17. This asks for the “false testimony provided by Defendant Microsoft’s employees.” Your
                     response refers to Rog 12. Can you please identify which part of Rog 12 is responsive to Rog 17?
                  d. RFP 31. This seeks documents “relating to any false statement that ‘Plaintiffs’ [sic] violated Microsoft’s
                     copyright in 2014 and 2015.” I don’t think we have a dispute over this one, as your response appears to
                     indicate you would provide all responsive documents. Am I correct?

      3. Documents concerning the plea agreement. You and Bonnie exchanged emails on July 3, in which
         you committed to produce documents by July 19.

      4. Subpoenas to Scimeca, Coyle, Ford. On July 3, you indicated that these individuals and your clients object to
         the subpoenas. Bonnie responded asking for information on whatever joint defense agreement was in
         place. After receiving no response, I again asked August 19.

Ambika Kumar Doran | Davis Wright Tremaine LLP
Partner | Co-Chair, Media Law Practice
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Tel: (206) 757-8030 | Fax: (206) 757-7030 | Mobile: (206) 356-0397
Email: ambikadoran@dwt.com | Bio: www.dwt.com/people/ambikakumardoran/

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From: Barrett Bowers <Barrett@wardglasslaw.com>
Sent: Friday, August 23, 2019 11:48 AM
To: Doran, Ambika <AmbikaDoran@dwt.com>; MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Subject: Craig PC et al. v. Microsoft et al.

Ambika, I am not ignoring your emails, I am just waiting to get a final meeting set up with my clients to finalize the
supplemental responses. We were supposed to meet Friday last week, then it was cancelled at the last minute. The
same thing happened today. I have a meeting set up for next week so I plan to have the supplemental responses and
document production by next Friday.

Barrett




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                                                                          Suite 3300
                                                                          920 Fifth Avenue
                                                                          Seattle, WA 98104-1610

                                                                          Ambika K. Doran
                                                                          (206) 757-8030 tel
                                                                          (206) 757-7030 fax

                                                                          ambikadoran@dwt.com




September 19, 2019

Via Electronic Mail

Stanley M. Ward
Woodrow K. Glass
Barrett T. Bowers
Jonathan M. Irwin
Ward & Glass LLP
1601 36th Ave., Suite 100
Norman, OK 73072
barrett@wardglasslaw.com

Re:      Craig PC Sales & Service LLC et al. v. CDW Government LLC et al., No. 5:17-cv00003-
         PRW

Dear Barrett:

This letter responds to your September 9, 2019, letter concerning discovery.

With respect to Craig PC’s productions, here are the remaining issues.

Documents and Information Concerning Alleged Tortious Interference: Craig PC has alleged
a claim for tortious interference, and more specifically, for interference with “a valid business
relationship and expectancy with various school districts and private clients.” FAC ¶ 151.
Microsoft is entitled to know the basis for that claim. To that end, Interrogatories 6-11 ask Craig
PC to identify each school district or private client with which it had a “valid business
relationship and expectancy”; identify each such district or private client with which Craig PC
did business after February 25, 2014; and for each, to identify the date the relationship began,
any contracts, and the date and amount of all purchases. RFPs 17-22 ask for documents
evidencing each relationship or expectancy, the alleged interference, and the alleged damages.

The responses to these requests are insufficient, and Microsoft has almost no information
concerning the relationships or expectancies you claim it disrupted. Although we had hoped to
resolve this by negotiating a complete response to Interrogatory 9, that has not happened. First,
your supplemental response identifies only the school districts with which Microsoft allegedly
interfered after “November 2014.” The relevant time frame, and the time frame requested by



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Microsoft, is after February 25, 2014. Further, the documents to which you have referred as
responsive to Interrogatory 9 (i.e., Craig 813-915, Craig 1708-1741, and Craig 16567-16607) do
not support your claims of lost business. As examples, all of the following school districts
appear to have stopped doing business with Craig PC before 2014: Anadarko (2010), Braman
(2012), Byars (2011), Cement (2010), Copan (2011), Darlington (2011), Erick (2013), Geary
(2012), Hydro-Eakley (2011), Newkirk (2011), Mountain View-Gotebo (2012), Mulhall-Orlando
(2010), Peckham (2011), Purcell (2013), Ringwood (2012), Ripley (2013), Robin Hill (2011),
Sterling (2013), Thackerville (2010), Timberlake (2011), and Washington (2011).

We are willing to make one last attempt at getting the information we need to defend against the
tortious interference claim. Please provide written responses (rather than just references to
documents) to Interrogatories 6, 7, 8, 10, and 11. Please confirm the accuracy of your answer to
Interrogatory 9—and, assuming it is accurate, please point us to the documents to support the
answer, as sought by RFP 20. Please also point us to the documents to support your answers to
Interrogatories 6, 7, 8, 10, and 11, as requested by RFP 17-19, 21, and 22. Although those RFPs
seek “all documents,” we are willing to limit them to “documents sufficient to show.”

If we do not receive a complete response to these requests by September 26, 2019, we will
file a motion to compel.

Rog 12: Thank you for your clarification. Your letter states that “[t]here are not any other
materially false statements that we know of that have not been disclosed.” Please confirm that
you mean there are no such statements other than those disclosed in response to Interrogatory 12
(as opposed to those disclosed elsewhere). In addition, I understand that you object to
identifying each speaker, the individuals present, the date, the time, and the place, for which the
interrogatory asks, because it is your position that doing so would be burdensome. In other
words, put together, you have identified all the materially false statements of which you are
aware, but will not identify the circumstances (time, place, etc.) when they were made. If we are
wrong, please let me know so we can accurately represent your position to the Court.

Rog 13: In my July 16, 2019, email, I asked you to clarify whether there are additional
Microsoft actions or statements not listed in Plaintiffs’ written response that allegedly “caused a
federal criminal investigation and state criminal action to be brought against Plaintiffs Craig PC
and Craig, II.” Your letter states that Plaintiffs “cannot identify every action that Microsoft
took” until you “receive appropriate discovery from Microsoft.” Please confirm that you have
identified in response to this interrogatory all such actions and statements of which you are
aware as of this date.

Subpoenas to Scimeca, Coyle, and Ford: On July 3, you indicated that these individuals and
your clients object to the subpoenas. Bonnie responded asking for information on whatever joint
defense agreement was in place. After receiving no response, I again asked August 19. Your
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latest reply does not address this question. By no later than September 26, please confirm
whether a joint defense agreement was in place and the terms of any joint defense agreement.
We also intend to contact these individuals directly.

With respect to your concerns about Microsoft’s discovery responses, here are our responses:

Microsoft’s Production. As Microsoft indicated in its written responses, Microsoft will produce
responsive documents on a rolling basis. Microsoft’s production remains ongoing, although we
anticipate completing our production in the beginning of November. If that changes, we will
certainly let you know.

Rog 1. Please explain why the identity of the Microsoft legal personnel who assisted with the
interrogatory responses is relevant. Although we propounded a similar interrogatory
(Interrogatory 2), we excluded from its scope attorneys.

Rog 5, 6. Microsoft will supplement its response to these interrogatories to identify the Bates
numbers for the documents Microsoft agreed to provide. Of these documents, there are no
documents withheld on privilege or work product grounds.

Rogs 9-13. These relate to a document produced as Craig 1459-61, which is a set of frequently
asked questions created to educate customers about volume licenses. As our response explains,
this document was not created for software vendors such as Craig PC. This lawsuit concerns
Craig PC’s knowledge concerning Microsoft’s licensing practices, so the only conceivably
relevant information published by Microsoft would be directed to vendors. Although you claim
that Microsoft’s knowledge of “confusion generated by Microsoft’s licensing rules” is relevant,
this ignores that the confusion identified in the document you reference was on the part of
customers, not vendors, whom Microsoft expects to be far more knowledgeable. Please explain
why the “distinction between ‘customers’ and ‘vendors’ is not meaningful in the context of
relevancy.”

Rog 14. Your accusation that we did not provide a substantive response in order to cause delay
is not well taken, particularly given the delay on your part in responding to Microsoft’s repeated
requests for discovery. Further, it is unproductive to claim that the question is “on [its] face,
obviously relevant.” Again, please explain why you believe this information is relevant. We do
not see a basis for relevance but are keeping an open mind.

Rog 15, RFP 12. With respect to communications between Microsoft and CDWG made in
anticipation of litigation, Microsoft will not produce them, as those communications are subject
to a common interest privilege. If your position is that there is no such privilege at all, we should
put that issue before the Court. If your position is that the privilege applies to some, but not all,
communications, we will provide a log.
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Rogs 20, 24. Microsoft will supplement its responses to provide the last-known address and
phone number, if any, for each of the individuals identified.

Rog 25. Microsoft will supplement its response to Interrogatory No. 25 to identify the Bates
numbers for responsive documents, if any.

Rog 33. Federal Rule of Civil Procedure 33 limits a party to serve no more than 25 written
interrogatories on any other party. Absent leave from the court, Microsoft is not obligated to
respond to Interrogatory Nos. 26 and 27 from Craig PC. To avoid further back and forth,
however, Microsoft is willing to treat those interrogatories as if they were propounded by
Plaintiff Craig Sr., and will respond to them no later than October 11, 2019.

RFP 1: We appreciate Plaintiffs’ attempt to narrow this request. However, taken literally, this
request covers any document that touches on volume licensing sales over the span of 11 years.
Microsoft is willing to conduct a reasonable search for documents sufficient to evidence its
guidance to distributors and resellers regarding the terms of Windows volume licensing between
2008 and 2010. Please let us know if you will agree to that narrowed scope.

RFP 8. Microsoft has not obtained any “affidavits, declarations, or sworn or unsworn statements
relating to any claim or defense in this case” in addition to what Microsoft has agreed to produce
from its “assistance to federal and state law enforcement.”

RFP 11, 21: Microsoft reiterated its General Objections in its response to RFP No. 11 and 21.
Those Objections are set forth at pages 1-4.

RFP 14: These documents were produced on September 16, under Bates range:

AJB_00000001 - APS_00000047
APS_00000001 - APS_00000047
BAPS_00000001 - BAPS_00000315
BOS_00000001 - BOS_00000324
CHS_00000001 - CHS_00000008
CKTC_00000001 - CKTC_00000519
CNPS_00000001 - CNPS_00000003
CPS_00000001 - CPS_00000092
CYPS_00000001 - CYPS_00000301
DERRYBERRY_00000001
EPS_00000001 - EPS_00000020
FPS_00000001
GPS_00000001 - GPS_00000021
HEPS_00000001 - HEPS_00000191
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HPS_00000001 - HPS_00000996
KMASON_00000001
LPS_00000001 - LPS_00000112.001
MPS_00000001 - MPS_00000074
MSD_00000001 - MSD_00000002.004
MVGS_00000001 - MVGS_00000115
MVPS_00000001 - MVPS_00000061.047
NPS_00000001 - NPS_00000470
PPS_00000001
RHPS_00000001 - RHPS_00000116
RPSKB_00000001 - RPSKB_00000028
RSD_00000001
TLPS_00000001
TPS_00000001 - TPS_00000005.001
UCPS_00000001 - UCPS_00000120
VPS_00000001 - VPS_00000135
WPS_00000001


Privilege log: Microsoft will provide a privilege log for responsive documents withheld on
privilege or work product grounds.

We are available to meet and confer by phone should you have any further questions.

Regards,

Davis Wright Tremaine LLP




Ambika K. Doran




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Mitterndorfer, Ericka




From:                               Barrett Bowers <Barrett@wardglasslaw.com>
Sent:                               Thursday, September 26, 2019 1:32 PM
To:                                 Doran, Ambika
Cc:                                 Li, Xiang; BNelon@HallEstill.com; Woody Glass; 'Bret.Burns@ymail.com'; Jonathan Irwin
Subject:                            RE: Craig PC Sales & Service LLC et al. v. CDW Government LLC et al., No. 5:17-cv-00003


[EXTERNAL]

Counsel,

This is in response to your letter dated September 19. I first address Microsoft’s discovery responses.

Rog 1. The identity of Microsoft legal personnel who provided information is relevant because no one other than
lawyers participated in preparing the interrogatory responses. I think in this situation it is self-evident that their
identity is relevant. I also don’t have a verification page swearing that the information provided is true. Can you explain
what good faith basis you have for withholding this information?

Rog 5,6. Thank you. Please provide me with an expected response date.

Rogs 9-13. This entire lawsuit centers around Microsoft’s allegation that Craig PC was knowingly and intentionally using
volume licenses inappropriately. Microsoft’s knowledge that over 40% of its customers were using volume licenses in
the same way contradicts its allegations against Craig PC. The publication may refer to customers, but the underlying
study may be broader than that. Furthermore, even if it does just relate to customers, it is still relevant. There is no
bright line between customers and vendors’ understanding of licensing details. Some vendors are larger and more
sophisticated than others, the same as with customers. The requested information fits comfortably within the very
broad scope of relevance.

Rog 14. It is not unproductive to point out that certain information is obviously relevant. There are allegations in the FAC
about Microsoft employees working in-house at CDWG. Microsoft’s review of CDWG’s actions is also relevant and
certainly I expect CDWG will advance Microsoft’s review of its sales to Craig PC as a defense in this action. CDWG
asserted this defense in its motion to dismiss. With regard to delays, Plaintiffs have produced over 16,000 pages of
documentation, while Microsoft has produced a fraction of that, with most of the documentation consisting of what has
already been produced. There is a clear difference in the reason for the delay in response time.

Rog 15, RFP 12. Please provide a privilege log.

Rogs 20, 24, 25. Thank you. Please provide me with an expected response date.

Rog 33. I have no objection to treating the interrogatories in this manner.

RFP 1. Can you provide me with more details about what you consider to be “a reasonable search”?

With regard to the claim of privilege made by the Craigs regarding the communications between their attorneys, they
did have a joint defense agreement. It was not reduced to writing.

With regard to “documents and information concerning alleged tortious interference,” I do not agree with the
statement that “Microsoft has almost no information concerning the relationships or expectancies” that Craig PC claims
it disrupted. Craig PC has provided an identification of all customers and of all sales. Microsoft has sufficient information
to evaluate the claim. To clarify Craig PC’s position with regard to schools that stopped doing business prior to 2014,

                                                              1
                           Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 149 of 154
Craig PC contends that it would have been able to earn that business again if not for the state court criminal
prosecution. I do not believe that any further supplementation is required or necessary.

With regard to the other items you raised, I believe the discovery responses themselves or my prior clarifications
provide the answers.

Barrett




From: Smith, Lesley <LesleySmith@dwt.com>
Sent: Thursday, September 19, 2019 7:12 PM
To: Barrett Bowers <Barrett@wardglasslaw.com>; Rhonda Stermer <rhonda@wardglasslaw.com>; Woody Glass
<woody@wardglasslaw.com>; Geoffrey Tabor <geoffrey@wardglasslaw.com>
Cc: Doran, Ambika <AmbikaDoran@dwt.com>; Li, Xiang <XiangLi@dwt.com>; BNelon@HallEstill.com
Subject: Craig PC Sales & Service LLC et al. v. CDW Government LLC et al., No. 5:17-cv-00003

Attached is a letter from Ambika Doran with regard to the above-referenced matter – Thank you, Lesley Smith, Secretary
to Ambika Doran



Lesley Smith | Davis Wright Tremaine LLP
Legal Secretary
920 Fifth Ave,, Suite 3300 | Seattle, WA 98104
Tel: (206) 757-8708 | Fax: (206) 757-7700
Email: lesleysmith@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.




                                                                                                 2
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                                    Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 151 of 154

Mitterndorfer, Ericka




From:                                                        Jonathan Irwin <Jonathan@wardglasslaw.com>
Sent:                                                        Tuesday, March 12, 2019 5:39 PM
To:                                                          Doran, Ambika; asharp@lowis-gellen.com; bill.leach@mcafeetaft.com;
                                                             bnelon@hallestill.com; MacNaughton, Bonnie; Kalinowski, Caesar; Wendell, Jamie;
                                                             lkistler@hallestill.com; ron.shinn@mcafeetaft.com; tkoessl@lowis-gellen.com; Bugaighis,
                                                             Zana
Cc:                                                          Woody Glass; Barrett Bowers; Stephanie Hemesley; bret.burns@ymail.com;
                                                             christiemassey@ymail.com
Subject:                                                     Craig Document Production


[EXTERNAL]

Counsel:

Please see Craig’s initial document production in response to Microsoft’s written discovery requests by following this
link:

https://www.dropbox.com/sh/hnyslne5c5dg4ty/AACE12yxfOJdW5qpt4Iggmiea?dl=0

Several more documents are ready for production as soon as a protective order is in place.

Best,

Jonathan



                                                                                                                               Ward & Glass, LLP
                                                                                                                               1601 36th Avenue NW
                                                                                                                               Norman, OK 73072
                                                                                                                               Telephone: (405) 360-9700
                             Jonathan M. Irwin
                                                                                                                               Facsimile: (405) 360-7902

               CONFIDENTIALITY NOTICE: This E-mail (including attachments) is covered by the Electronic Communication Privacy Act, 18 U.S.C. §§ 2510-2521, is
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               jonathan@wardglasslaw.com, and delete this message and all copies and backups thereof. Thank you.




                                                                                                 1
Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 152 of 154
                                    Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 153 of 154

Mitterndorfer, Ericka




From:                                                        Jonathan Irwin <Jonathan@wardglasslaw.com>
Sent:                                                        Wednesday, March 13, 2019 1:54 PM
To:                                                          Doran, Ambika; asharp@lowis-gellen.com; bill.leach@mcafeetaft.com;
                                                             bnelon@hallestill.com; MacNaughton, Bonnie; Kalinowski, Caesar; Wendell, Jamie;
                                                             lkistler@hallestill.com; ron.shinn@mcafeetaft.com; tkoessl@lowis-gellen.com; Bugaighis,
                                                             Zana
Cc:                                                          Woody Glass; Barrett Bowers; Stephanie Hemesley; bret.burns@ymail.com;
                                                             christiemassey@ymail.com
Subject:                                                     RE: Craig Document Production


[EXTERNAL]

Counsel:

As the protective order has now been entered, here are the rest of the documents:

https://www.dropbox.com/sh/l0f3r91wwb8y9ao/AADyplUP582sJFurSA4i3jjUa?dl=0

Best,

Jonathan

                                                                                                                               Ward & Glass, LLP
                                                                                                                               1601 36th Avenue NW
                                                                                                                               Norman, OK 73072
                                                                                                                               Telephone: (405) 360-9700
                             Jonathan M. Irwin                                                                                 Facsimile: (405) 360-7902

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               jonathan@wardglasslaw.com, and delete this message and all copies and backups thereof. Thank you.




From: Jonathan Irwin
Sent: Tuesday, March 12, 2019 7:39 PM
To: ambikadoran@dwt.com; asharp@lowis-gellen.com; bill.leach@mcafeetaft.com; bnelon@hallestill.com;
bonniemacnaughton@dwt.com; caesarkalinowski@dwt.com; jamiewendell@dwt.com; lkistler@hallestill.com;
ron.shinn@mcafeetaft.com; tkoessl@lowis-gellen.com; zanabugaighis@dwt.com
Cc: Woody Glass (woody@wardglasslaw.com) <woody@wardglasslaw.com>; Barrett Bowers
<Barrett@wardglasslaw.com>; Stephanie Hemesley <stephanie@wardglasslaw.com>; bret.burns@ymail.com;
'christiemassey@ymail.com' <christiemassey@ymail.com>
Subject: Craig Document Production

Counsel:


                                                                                                 1
                      Case 5:17-cv-00003-J Document 125 Filed 10/04/19 Page 154 of 154
Please see Craig’s initial document production in response to Microsoft’s written discovery requests by following this
link:

https://www.dropbox.com/sh/hnyslne5c5dg4ty/AACE12yxfOJdW5qpt4Iggmiea?dl=0

Several more documents are ready for production as soon as a protective order is in place.

Best,

Jonathan



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                                                                                                                 1601 36th Avenue NW
                                                                                                                 Norman, OK 73072
                                                                                                                 Telephone: (405) 360-9700
               Jonathan M. Irwin
                                                                                                                 Facsimile: (405) 360-7902

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 jonathan@wardglasslaw.com, and delete this message and all copies and backups thereof. Thank you.




                                                                                   2
